         Case 4:07-cr-00317-JM Document 899 Filed 06/21/13 Page 1 of 1


                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA

Vs.                       CASE NO. 4:07cr00317-06 JMM

DARYL J. HILL

                                        ORDER

      A hearing on the motion to revoke supervised release (DE #824) is scheduled

Friday, July 19, 2013 at 10:15 a.m., Richard Sheppard Arnold United States

Courthouse, 500 West Capitol, Room 4A, Little Rock, Arkansas.

      Ms. Nycole Lybrand, Assistant Federal Public Defender is provisionally appointed

to represent the defendant in the revocation proceedings.

      The United States Probation Officer will provide testimony by video conference.

      The defendant is currently in the custody of the Arkansas Department of

Correction. Counsel for the United States is directed to prepare the necessary

paperwork to ensure the defendant’s appearance at the hearing.

      The Clerk is directed to provide a copy of this Order to the United States

Probation Office and the United States Marshals Service.

      IT IS SO ORDERED this 21st day of June, 2013.



                                        JAMES M. MOODY
                                        UNITED STATES DISTRICT JUDGE
